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 1   [Stipulating parties listed on signature page]

 2
                                   UNITED STATES DISTRICT COURT
 3                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
 4

 5   In re: CATHODE RAY TUBE (CRT)                        )   Case No. 07-5944 SC
     ANTITRUST LITIGATION                                 )
 6                                                        )   MDL No. 1917
 7                                                        )
     This Document Relates to:                                STIPULATION OF DISMISSAL
                                                          )
 8   CompuCom Systems, Inc. v. Hitachi, Ltd., et al.,     )
     Case No. 3:11-cv-06396                               )
 9                                                        )
     Electrograph Systems, Inc., et al. v. Hitachi        )
10   Ltd., et al., Case No. 3:11-cv-01656-SC              )
11   Interbond Corp. of Am. v. Hitachi, Ltd. et al.,      )
     No. 3:11-cv-06275-SC                                 )
12                                                        )
     Office Depot, Inc. v. Hitachi, Ltd. et al, No.       )
13   3:11-cv-06276-SC                                     )
14   P.C. Richard & Son Long Island Corp., et al., v.     )
     Hitachi, Ltd., et al.¸ No. 12-cv-02648-SC            )
15                                                        )
     Tech Data Corp., et al. v. Hitachi, Ltd., et al.,    )
16   No. 3:13-cv-00157-SC                                 )
     Schultze Agency Services, LLC on behalf of           )
17   Tweeter Opco, LLC and Tweeter Newco, LLC v.          )
18   Hitachi, Ltd., et al., No. 12-cv-2649-SC             )

19

20           Plaintiffs CompuCom Systems, Inc.; Electrograph Systems, Inc. and Electrograph

21   Technologies Corp.; Interbond Corporation of America; Office Depot, Inc.; P.C. Richard & Son

22   Long Island Corporation; ABC Appliance, Inc.; MARTA Cooperative of America, Inc.; Tech Data

     Corporation and Tech Data Product Management, Inc.; and Schultze Agency Services on behalf of
23

24   Tweeter Opco, LLC and Tweeter Newco, LLC (collectively, “Plaintiffs”), and Defendants Hitachi,

25   Ltd.; Hitachi Displays, Ltd. (n/k/a Japan Display Inc.); Hitachi America, Ltd.; Hitachi Asia, Ltd.;

26   and Hitachi Electronic Devices (USA), Inc. (collectively, the “Hitachi Defendants”), on the other

27   hand, hereby stipulate as follows:

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                                              STIPULATION OF DISMISSAL
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 1          1.      Plaintiffs and the Hitachi Defendants seek dismissal of these actions with prejudice as

 2   brought against the Hitachi Defendants only.

 3          2.      Plaintiffs and the Hitachi Defendants agree that each party shall bear its own costs

 4   and attorneys’ fees in connection with this action.

 5          3.      This stipulation does not affect the rights or claims of Plaintiffs against any defendant

 6   or alleged co-conspirator in this litigation other than the Hitachi Defendants.

 7          WHEREFORE, the parties respectfully request that this Court issue an Order of Dismissal

 8   with respect to Plaintiffs’ actions as brought against the Hitachi Defendants only.

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10   PURSUANT TO STIPULATION, IT IS SO ORDERED.                            TES D      TC
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                                                               UNIT
12           10/29/2015
     Dated:___________________                             ______________________________________
                                                                       Hon. Samuel Conti




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13                                                                 United States District Judge
14                                                                                          el Conti
                                                               NO


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 1          Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this

 2   document has been obtained from each of the below signatories.

 3

 4   Dated: October 27, 2015                         /s/ Philip J. Iovieno

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20                                                   Long Island Corporation, MARTA Cooperative of
                                                     America, Inc., ABC Appliance, Inc., Tech Data
21                                                   Corporation and Tech Data Product Management,
                                                     Inc., and Schultze Agency Services, LLC on behalf
22                                                   of Tweeter Opco, LLC and Tweeter Newco, LLC

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                                                     /s/ Scott N. Wagner
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                                             STIPULATION OF DISMISSAL
     Case 3:07-cv-05944-JST Document 4157 Filed 10/29/15 Page 4 of 4



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                                       America, Ltd.; Hitachi Asia, Ltd.; and Hitachi
18                                     Electronic Devices (USA), Inc.

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